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                     IN THE UNITED STATES DISTRICT
                   COURT FOR THE SOUTHERN DISTRICT
                       OF OHIO CINCINNATI DIVISION


EQUAL EMPLOYMENT OPPORTUNITY                 )
COMMISSION,                                  )
                                             )     CIVIL ACTION NO.:
                                             )     _________________
                    Plaintiff,               )
                                             )
v.                                           )
                                             )     COMPLAINT
TOTAL MAINTENANCE SOLUTIONS,                 )
INC,                                         )
                                             )
                    Defendant.               )
                                             )     JURY TRIAL DEMAND
                                             )


                             NATURE OF THE ACTION


       The United States Equal Employment Opportunity Commission (the

“EEOC” or the “Commission”) brings this action against Total Maintenance

Solutions, Inc. (“TMS”), pursuant to Title VII of the Civil Rights Act of 1964

and Title I of the Civil Rights Act of 1991 to correct unlawful employment

practices on the basis of sex, and to provide appropriate relief to Aaliyah

Thomas (“Thomas”) who was adversely affected by such practices. As alleged

in greater detail in paragraph twelve below, the Commission alleges that TMS,

through its owner, subjected Thomas to a sexually hostile work environment

because of her sex, female, and terminated her position in retaliation for her

complaints of sexual harassment.
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                           JURISDICTION AND VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§

451, 1331, 1337, 1343 and 1345. This action is authorized and instituted

pursuant to Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964,

as amended, 42 U.S.C. § 2000e-5(f)(1) and (3) ("Title VII") and Section 102 of

the Civil Rights Act of 1991, 42 U.S.C. §1981a.

      2.     The employment practices alleged to be unlawful were

committed within the jurisdiction of the United States District Court for the

Southern District of Ohio, Cincinnati Division.

                                       PARTIES

      3.     Plaintiff, the Commission, is the agency of the United States of

America charged with the administration, interpretation and enforcement

of Title VII, and is expressly authorized to bring this action by Section

706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1) and (3).

      4.     Defendant, Total Maintenance Solutions, Inc., at all relevant

times has been a company doing business in the State of Ohio, and has

continuously had at least fifteen (15) employees.

      5.     At all relevant times, Total Maintenance Solutions, Inc. has

continuously been an employer engaged in an industry affecting

commerce within the meaning of Sections 701(b), (g) and (h) of Title VII,

42 U.S.C. §§ 2000e (b), (g) and (h).



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                           ADMINISTRATIVE PROCEDURES

       6.     More than thirty (30) days prior to the institution of this lawsuit,

an EEOC Charge of Discrimination was filed by Aaliyah Thomas alleging

violations of Title VII.

       7.     On April 12, 2018, the Commission issued to Defendant a

Letter of Determination finding reasonable cause to believe that Title VII was

violated and inviting Defendant to join with the Commission in informal

methods of conciliation to endeavor to eliminate the unlawful employment

practices and provide appropriate relief.

       8.     The Commission engaged in communications with Defendant to

provide the opportunity to remedy the discriminatory practices described in

the Letter of Determination referenced above in Paragraph 7.

       9.     The Commission was unable to secure from Defendant

a conciliation agreement that was acceptable to the Commission.

       10.    The Commission issued to Defendant a Notice of Failure of

Conciliation advising Defendant that the Commission was unable to

secure from Defendant a conciliation agreement acceptable to the

Commission.

       11.    All conditions precedent to the institution of this lawsuit have

been fulfilled.



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                            STATEMENT OF CLAIMS

       12.    TMS hired Aaliyah Thomas on or about June 13, 2017, as the

office manager for the commercial cleaning and construction clean up

company. TMS’s owner, Leroy Owens (“Owens”), subjected Thomas to sexual

harassment and retaliated against her in violation of Section 703(a) and

704(a) of Title VII, 42 U.S.C. § 2000e-2(a). The harassment and retaliation

included, but is not limited to:

             a.    Owens made sexual comments, such as calling Thomas my

“little young ass”; constantly sexually ogled her and told her how sexy she

looked; hugged her and made sexual comments about her body; and repeatedly

called her at night at her home after work hours suggesting a sexual

relationship. Despite Thomas’s repeated complaints about the sexually hostile

environment, Owens would not stop the harassing conduct.

             b.     After repeated verbal complaints to Owens about the sexual

harassment, Thomas texted Owens asking him to stop the harassment. In

retaliation, Owens ordered Thomas to clean the office restroom, a duty not in

her job description, and when Thomas refused Owens terminated Thomas’s

employment.

      13.     The effect of the practices complained of in paragraph 12 above

has been to deprive Thomas of equal employment opportunities and to

otherwise adversely affect her employment status because of her sex.



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      14.    The unlawful employment practices complained of in paragraph 12

above were intentional.

      15.    The unlawful employment practices complained of in paragraph 12

above were done with malice or with reckless indifference to Thomas’s federally

protected rights.

                                   PRAYER FOR
                                     RELIEF

       WHEREFORE, the Commission respectfully requests that this Court:

       A.    Grant a permanent injunction enjoining TMS, its officers,

successors, assigns, and all persons in active concert or participation with

it, from engaging in discrimination based on sex in violation of Title VII of

the Civil Rights Act of 1964.

       B.    Grant a permanent injunction enjoining TMS, its officers,

successors, assigns, and all persons in active concert or participation with

it, from engaging in retaliation against its employees for complaining of or

filing charges of discrimination based on sex under the provisions of Title VII of

the Civil Rights Act of 1964.

       C.    Order TMS to institute and carry out policies, practices, and

programs which effectuate the equal treatment of its employees in the terms

and conditions of their employment and which eradicate the effects of its

past and present unlawful employment practices based on sex.

       D.    Order TMS to make whole Thomas by providing her

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compensation for past and future pecuniary losses resulting from the

unlawful employment practices described in paragraph 12 above, in amounts

to be determined at trial.

      E.    Order TMS to make whole Thomas by providing her

compensation for past and future non-pecuniary losses resulting from the

unlawful practices complained of in paragraph 12 above, including

emotional pain, suffering, inconvenience, loss of enjoyment of life,

embarrassment and humiliation, in amounts to be determined at trial.


      F.    Order TMS to pay Thomas back wages for its termination of

Thomas’s employment in retaliation for her complaints as described in

paragraph 12 above, in amounts to be determined at trial.


      G.    Order TMS to pay Thomas punitive damages for its malicious

and reckless conduct described in Paragraph 12 above, in amounts to be

determined at trial.

      H.    Grant such further relief as the Court deems necessary and

proper in the public interest.

      I.    Award the Commission its costs of this action.




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                           JURY TRIAL DEMAND

     The Commission requests a jury trial on all questions of fact raised by

its Complaint.

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